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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION;
 JOHN DOE 1;
 JOHN DOE 2;                                           Civil Case No. 25-328
 JOHN DOE 3;
 JOHN DOE 4;
 JANE DOE 1;
 JANE DOE 2; and
 JANE DOE 3.
                        Plaintiffs,

                        v.
 U.S. DEPARTMENT OF JUSTICE and
 THE UNITED STATES OF AMERICA,
                        Defendant.



  NUNC PRO TUNC MOTION TO SEAL DECLARATION OF MARK S. ZAID, ESQ.

   NOW COME the Plaintiffs, by and through their undersigned counsel, to respectfully seal

the Declaration of Mark S. Zaid, Esq. (Dkt. 3), which details sensitive personal information and

identifiers regarding the John and Jane Doe Plaintiffs, to include their names, addresses and

biographical information. For the reasons set forth, and adopted herein, in the Memorandum of

Law (Dkt. 3-1) to support the Motion to File a Pseudonymnous Complaint (Dkt. 3), which assert

concerns of physical safety and well-being for the individual Plaintiffs and their families, it is

further respectfully requested that the Plaintiffs not be required to share the information with the

Defendants, until such time as the Court orders or the Parties mutually agree.

   Pursuant to the Local Rules, counsel for the Defendants were advised of this Motion but prior

to filing no position was noted. The granting of this Motion will not delay or impact any other

currently scheduled matters in this proceeding. A proposed Order is attached.
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Dated: February 4, 2025

Respectfully submitted,

s/Mark S. Zaid
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